                               Case 22-14766-SMG                       Doc 87          Filed 12/14/22              Page 1 of 6
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 22-14766-SMG
Ralph Levi Sanders, Jr.                                                                                                Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113C-0                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Dec 12, 2022                                               Form ID: CGFD26                                                           Total Noticed: 39
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 14, 2022:
Recip ID                 Recipient Name and Address
db                     + Ralph Levi Sanders, Jr., 561 SW 60 Ave., Plantation, FL 33317-3947
cr                     + Specialized Loan Servicing LLC, P.O. Box 5703, Clearwater, FL 33758-5703
96619113                 Broward Medical Associates, 7390 S.W. 5th Street, Plantation, FL 33317
96619105               + City of Plantation Code Enforcement, 451 N.W. 70th Terrace, Plantation, FL 33317-2239
96619115               + City of Plantation, FL, POB 918557, Orlando, FL 32891-0001
96619117               + Dr. Ramsey Pevsner, 7469 N.W. 4th Street, Plantation, FL 33317-2216
96619125               + Inphynet South Broward, Inc., P.O. Box 740022, Cincinnati, OH 45274-0022
96619110               + Law Office of Gary Gassel, P.A., 2191 Ringling Blvd., Sarasota, FL 34237-7003
96619126               + MD Now Medical Center, 2007 Palm Beach Lakes Blvd, West Palm Beach, FL 33409-6501
96619122               + Memorial Physicians Group, P.O. Box 58015, Raleigh, NC 27658-8015
96619108               + Small Business Administration, Special Assistant US Attorney, 200 W. Santana Ana Blvd., Suite 180, Santa Ana, CA 92701-4134
96619129               + Tenet Florida Physicians Service, P.O. Box 100198, Atlanta, GA 30384-0198
96619124               + Westside Regional Medical Center, P.O. Box 99008, Bedford, TX 76095-9108

TOTAL: 13

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: swulfekuhle@broward.org
                                                                                        Dec 12 2022 22:53:00      Broward County Tax Collector, 115 S Andrews
                                                                                                                  Ave, Ft Lauderdale, FL 33301-1801
smg                       Email/Text: OGCBankruptcy@floridarevenue.com
                                                                                        Dec 12 2022 22:53:00      Florida Department of Revenue, POB 6668,
                                                                                                                  Bankruptcy Division, Tallahassee, FL 32314-6668
cr                     + Email/PDF: gecsedi@recoverycorp.com
                                                                                        Dec 12 2022 22:56:26      Synchrony Bank, PRA Receivables Management,
                                                                                                                  LLC, PO Box 41021, Norfolk, VA 23541-1021
cr                     + Email/Text: USAFLS.Bankruptcy@usdoj.gov
                                                                                        Dec 12 2022 22:53:00      United States of America, Small Business
                                                                                                                  Administr, c/o Raychell Tasher, Assistant U.S.
                                                                                                                  Attorney, 99 NE 4th Street, Third Floor, Miami,
                                                                                                                  FL 33132-2131
96619112               ^ MEBN
                                                                                        Dec 12 2022 22:48:09      ARS/Account Resolution Specialists, P.O. Box
                                                                                                                  459079, Sunrise, FL 33345-9079
96619114                  Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Dec 12 2022 22:56:29      Citibank, ATTN: Centralized Bankruptcy, POB
                                                                                                                  20507, Kansas City, MO 64195
96619116               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Dec 12 2022 22:56:10      Credit One Bank, P.O. Bank 98873, Las Vegas,
                                                                                                                  NV 89193-8873
96619118               + Email/Text: bankruptcy@flagshipcredit.com
                                                                                        Dec 12 2022 22:54:00      Flagship Credit Acceptance, P.O. Box 965,
                                                                                                                  Chadds Ford, PA 19317-0643
96619119               + Email/Text: GenesisFS@ebn.phinsolutions.com
                                                                                        Dec 12 2022 22:54:00      Genesis FS Card Services, P.O. Box 4499,
                                                                                                                  Beaverton, OR 97076-4499
96619128               ^ MEBN
                                                                                        Dec 12 2022 22:48:22      Honorable Merrick B. Garland, United States
                                                                                                                  Attorney General, U.S. Department of Justice, 950
                                                                                                                  Pennsylvania Avenue, NW, Washington, DC
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                                                                                                            20530-0009
96619120              + Email/Text: Bankruptcy@ICSystem.com
                                                                                   Dec 12 2022 22:53:00     IC Systems, Inc., ATTN: Bankruptcy, POB 64378,
                                                                                                            Saint Paul, MN 55164-0378
96619111              + Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                   Dec 12 2022 22:53:00     Internal Revenue Service, P.O. Box 7346,
                                                                                                            Philadelphia, P.A. 19101-7346
96654817                 Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Dec 12 2022 22:55:57     LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                            PO Box 10587, Greenville, SC 29603-0587
96619121              + Email/Text: MDSBankruptcies@meddatsys.com
                                                                                   Dec 12 2022 22:53:00     Medical Data System (MDS), 2001 9th Ave.,
                                                                                                            #312, Vero Beach, FL 32960-6413
96619123              + Email/Text: bankruptcydpt@mcmcg.com
                                                                                   Dec 12 2022 22:54:00     Midland Funding, 8875 Aero Drive, #200, San
                                                                                                            Diego, CA 92123-2255
96629257              + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Dec 12 2022 22:56:11     Plantation General Hospital, Resurgent Capital
                                                                                                            Services, PO Box 1927, Greenville, SC
                                                                                                            29602-1927
96655911                 Email/Text: bnc-quantum@quantum3group.com
                                                                                   Dec 12 2022 22:54:00     Quantum3 Group LLC as agent for, Genesis FS
                                                                                                            Card Services Inc, PO Box 788, Kirkland, WA
                                                                                                            98083-0788
96619131              + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Dec 12 2022 22:55:57     Resurgent Capital Services, P.O. Box 1927,
                                                                                                            Greenville, SC 29602-1927
96619106              + Email/Text: bankruptcynotices@sba.gov
                                                                                   Dec 12 2022 22:53:00     Small Business Administration, 409 Third Street
                                                                                                            S.W., Washington, D.C. 20416-0002
96619109              + Email/Text: bkelectronicnoticecourtmail@computershare.com
                                                                                 Dec 12 2022 22:53:00       Specialized Loan Servicing, 6200 S Quebec St.,
                                                                                                            Greenwood Village, CO 80111-4720
96619130              + Email/Text: sprechman@ebn.phinsolutions.com
                                                                                   Dec 12 2022 22:54:00     Sprechman & Fisher, P.A., 2775 Sunny Isles
                                                                                                            Blvd.., #100, North Miami Beach, FL 33160-4078
96684595              + Email/Text: bkelectronicnoticecourtmail@computershare.com
                                                                                 Dec 12 2022 22:53:00       The Bank of New York Mellon Trustee (See 410),
                                                                                                            c/o Specialized Loan Servicing LLC, 6200 S.
                                                                                                            Quebec St., Suite 300, Greenwood Village,
                                                                                                            Colorado 80111-4720
96619127                 Email/Text: USAFLS.Bankruptcy@usdoj.gov
                                                                                   Dec 12 2022 22:53:00     Honorable Juan Antonio Gonzalez, United States
                                                                                                            Attorney Southern District, United States
                                                                                                            Attorneys Office, 99 N.E. 4th Street, Miami, FL
                                                                                                            33132
96648174              + Email/Text: ndlrc.legal@sba.gov
                                                                                   Dec 12 2022 22:53:00     U.S. Small Business Administration, 200 W. Santa
                                                                                                            Ana Blvd., Ste 740, Santa Ana, CA 92701-7534
96619107              + Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                   Dec 12 2022 22:55:55     Wells Fargo Bank, N.A., 420 Montgomery Street,
                                                                                                            San Francisco, CA 94104-1298
96621214              + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Dec 12 2022 22:56:11     Westside Regional Medical Center, Resurgent
                                                                                                            Capital Services, PO Box 1927, Greenville, SC
                                                                                                            29602-1927

TOTAL: 26


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.
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Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 14, 2022                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 12, 2022 at the address(es) listed
below:
Name                            Email Address
Gavin N Stewart
                                on behalf of Creditor Specialized Loan Servicing LLC bk@stewartlegalgroup.com

Office of the US Trustee
                                USTPRegion21.MM.ECF@usdoj.gov

Raychelle A Tasher
                                on behalf of Creditor United States of America Small Business Administration Raychelle.Tasher@usdoj.gov,
                                Milton.Pacheco@usdoj.gov;Shannon.Patterson@usdoj.gov

Raychelle A Tasher
                                on behalf of Creditor United States of America Internal Revenue Service Raychelle.Tasher@usdoj.gov
                                Milton.Pacheco@usdoj.gov;Shannon.Patterson@usdoj.gov

Robin R Weiner
                                ecf@ch13weiner.com ecf2@ch13weiner.com


TOTAL: 5
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CGFD26 (3/02/22)




ORDERED in the Southern District of Florida on December 12, 2022




                                                                                                  Scott M Grossman
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                               Case Number: 22−14766−SMG
                                                                                                               Chapter: 13
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Ralph Levi Sanders Jr.
561 SW 60 Ave.
Plantation, FL 33317

SSN: xxx−xx−6171




                                            ORDER CONFIRMING CHAPTER 13 PLAN


      This cause came before the court on 12/8/2022 for confirmation of the debtor's proposed Third
Amended chapter 13 plan pursuant to Local Rule 3015−3(B)(2). Based on the record, including the
debtor's "Certificate of Compliance and Request for Confirmation on Chapter 13 Plan", it is

ORDERED as follows:

     1. The debtor's chapter 13 plan (the "Plan") meets with the provisions of 11 U.S.C. § 1325 and, if
        applicable, § 521 and 1308, and is, therefore, confirmed in accordance with its terms.

 2. Any claim entitled to priority under 11 U.S.C. § 507 shall be paid in full, in periodic installments, in
     the order of priority prescribed by the Bankruptcy Code over the period of the Plan as required by 11
     U.S.C. § 1322(a)(2), with postpetition interest as required by 11 U.S.C. § 506(b) payable on the
     secured portion of the claim.
__________________________
 1
     All references to "Debtor" shall include and refer to both Debtors in a case filed jointly by two individuals.




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3. The debtor's first monthly payment to the Trustee under the Plan was required to commence not
   later than 30 days following June 20, 2022, the date the petition was filed, or within 30 days from the
   date of conversion to chapter 13. The Trustee shall begin disbursement to creditors pursuant to the
   Plan as soon as practicable upon entry of this order.

4. If the Plan does not provide for payments to a secured creditor, the Plan provides for surrender of
   the property secured by the secured creditor's claim or the Plan provides for direct payment of the
   secured creditor's claim outside of the Plan, such creditor is granted in rem stay relief as to the
   debtor and in rem stay relief from the co−debtor stay to pursue available state court remedies
   against any property of the debtor that secures the creditor's claim. The filing of a Motion to Modify a
   Plan does not operate as a stay of any action against property of the debtor which is not subject to
   the automatic stay absent further order of the court.

5. Any executory contract or unexpired lease of the debtor which has not been assumed pursuant to
   court order prior to entry of this order, or which is not assumed in the Plan confirmed by this order, is
   deemed rejected upon entry of this order.

6. If the confirmed plan in this case provides for payment to holder(s) of tax certificates on property of
   the debtor, the following provisions shall apply:

          A. To ensure that the records of the County Tax Collector credit amounts received by
             certificate holders, upon receipt of information pursuant to subparagraph B below, the
             Tax Collector is ordered to adjust the County tax records and reduce both the amount
             owed on tax certificates and the amount of the tax lien to reflect payments made by the
             Chapter 13 Trustee to certificate holders under the confirmed plan.

          B. The Tax Collector shall be served with any order entered post−confirmation which (a)
             dismisses or converts this case; (b) grants stay relief to the holder of a secured claim on
             the property subject to the tax certificates; (c) approves a sale or refinancing of the
             property subject to the tax certificates; (d) modifies the plan to eliminate further payments
             to one or more certificate holders; or (e) discharges the debtor upon completion of the
             plan. Upon receipt of any such order, the Tax Collector shall request a ledger from the
             Chapter 13 Trustee reflecting the amounts paid to certificate holders under the confirmed
             plan, or obtain the ledger information by accessing the Chapter 13 Trustee's website.

          C. During the period in which the certificate holders are receiving payments under the
             confirmed plan, unless otherwise ordered, the Tax Collector is enjoined from accepting a
             redemption payment for any certificate which is included in the plan. This injunction will
             dissolve without further order of the Court if (a) one of the orders described in
             subparagraph B is entered; and (b) the County has complied with the requirements in
             subparagraph A by reducing both the amount owed on any certificate paid or partially
             paid under the plan and the amount of the tax lien by the amount paid to the certificate
             holder as reflected in the Chapter 13 Trustee's ledger.

7. Pursuant to Local Rule 3070−1(C)(2), if the debtor fails to timely make any Plan payment to the
   Trustee, the Trustee may serve a "Notice of Delinquency" upon the debtor and the debtor's attorney.
   The debtor shall have 45 days from the date of the "Notice of Delinquency" to make all payments
   due under the Plan, including any payments that become due within the 45−day period. If the debtor
   is seeking to cure the delinquency in a modified plan the debtor must file a motion to modify the
   confirmed plan within 14 days of the date of the "Notice of Delinquency". If the debtor is not current
   with plan payments on the 45th day after the date of the "Notice of Delinquency", the Trustee shall
   file and serve a report of non−compliance and the case will be dismissed without further notice or
   hearing. The court will not extend these deadlines absent extraordinary circumstances.


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  8. To the extent the Plan sought a determination of valuation pursuant to Bankruptcy Rule 3012, and
     no objections were filed or any objections were resolved, the terms of the Plan will be binding upon
     the affected secured creditors, and any allowed proof of claim will be secured only to the extent of
     the value as provided for in the Plan and unsecured as to the balance of the claim.

  9. Nonstandard provisions must be set forth in Paragraph IX of the Plan being confirmed. Nonstandard
     provisions set forth elsewhere in the Plan are void.

 10. The Debtor(s) must promptly disclose to the Trustee all material changes in the Debtor(s)'s financial
     circumstances, including, but not limited to, inheritances, personal injury settlements, new or
     additional employment, loss of employment, or reduction or increase to income.



The clerk shall serve a copy of this order on all parties of record.




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